Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 1 of 7 PageID #: 340




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------------------X
  NOE GONZALEZ and KEITH CALVAGNO individually Case No:
  and on behalf of all others similarly situated,                             21-cv-05017-PKC-SIL
                                                                  Plaintiffs,
                            -against-                                         [PROPOSED] FIRST
                                                                              AMENDED CLASS ACTION
  THE CHEESECAKE FACTORY RESTAURANTS, INC.                                    COMPLAINT
  d/b/a THE CHEESECAKE FACTORY,

                                                                 Defendant.
  -------------------------------------------------------------------------X
          Plaintiffs Noe Gonzalez and Keith Calvagno, individually and on behalf of all others

 similarly situated, as class representatives, by their attorneys the Moser Law Firm, P.C. allege,

 upon personal knowledge as to themselves and upon information and belief as to other matters,

 as follows:

                                      PRELIMINARY STATEMENT

               1. Plaintiffs Noe Gonzalez and Keith Calvagno (“Plaintiffs”) bring this action

 against Defendant The Cheesecake Factory Restaurants, Inc. d/b/a The Cheesecake Factory,

 under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d) for violations of New York

 Labor Law (“NYLL”) § 191(1)(a).

                                      JURISDICTION AND VENUE

               2. This Court has diversity jurisdiction over this action pursuant to 28 U.S.C.

 §1332(d), because this case is a class action in which the amount in controversy exceeds

 $5,000,000, exclusive of interest and costs, and at least one member of the class of plaintiffs is a

 citizen of a state different from the defendant.

               3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Defendant

 regularly transacts business in this District, and because a substantial part of the events giving

 rise to this Complaint arose in this District.



                                                         1
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 2 of 7 PageID #: 341




                                             PARTIES

             4. Defendant The Cheesecake Factory Restaurants, Inc. (“TCFI”) operates a chain of

 approximately 200 restaurants under the trade name “The Cheesecake Factory”.

             5. Defendant The Cheesecake Factory Restaurants, Inc. is a citizen of the States of

 California and Delaware because its principal place of business is at 26901 Malibu Hills Road,

 Calabasas Hills, California and it is incorporated in the State of Delaware.

                                    STATEMENT OF FACTS

             6. Defendant TCFI employed the Plaintiff Noe Gonzalez from April 2009 until

 March 2021.

             7. Gonzalez worked as a Line Cook and Prep Cook.

             8. Gonzalez worked at The Cheesecake Factory restaurant located in Huntington,

 New York.

             9. Gonzalez was required to stand throughout his workday, lift up to 50 pounds, and

 continuously bend, reach and twist.

             10. Defendant TCFI employed the Plaintiff Keith Calvagno (“Calvagno”) from

 approximately 2008 until August 2022.

             11. Calvagno worked as a server.

             12. Calvagno worked at The Cheesecake Factory restaurant located in Lake Grove,

 New York.

             13. Calvagno was required to walk and stand throughout his workday, lift up to 35

 lbs., and continuously bend, reach and twist.

             14. Plaintiffs were properly classified as “manual workers” under Article 6 of the

 New York Labor Law.




                                                  2
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 3 of 7 PageID #: 342




            15. The Plaintiffs’ workweek began on Wednesday and ended on Tuesday.

            16. TCFI paid the Plaintiffs every two weeks.

            17. TCFI paid the Plaintiffs the wages earned in the first workweek of each bi-weekly

 pay period later than seven calendar days after the end of the workweek in which such wages

 were earned.

            18. TCFI paid the Plaintiffs the wages earned in the first workweek of each bi-weekly

 pay period 14 days after the end of the workweek in which such wages were earned.

                              CLASS ACTION ALLEGATIONS

            19. Plaintiffs brings the First Cause of Action under Rule 23 of the Federal Rules of

 Civil Procedure, on behalf of themselves and “All manual workers employed by Defendant TCFI

 in the State of New York” (the “Class”).

            20. TCFI paid the Class every two weeks.

            21. TCFI paid the Class the wages earned in the first workweek of each bi-weekly

 pay period later than seven calendar days after the end of the week in which such wages were

 earned.

 Class
            22. There is diversity of citizenship between at least one class member and Defendant

 TCFI.

            23. The members of the Class are so numerous that joinder of all members is

 impracticable. The members of the Class are believed to be in excess of 200 individuals. The

 precise number of members of the Class is known to Defendant TCFI.

            24. Common questions of law and fact exist as to the Class that predominate over any

 questions only affecting members of the Class individually, namely: (1) whether the Class was

 paid on a weekly basis, (2) whether TCFI paid the Class the wages earned in the first week of



                                                3
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 4 of 7 PageID #: 343




 each bi-weekly pay period later than seven days after the end of the week in which such wages

 were earned; and (3) the damages to which members of the Class are entitled due to Defendant

 TCFI’s failure to comply with NYLL § 191(1)(a) and/or NYLL § 198 (1-b).

             25. The Plaintiffs’ claims are typical of the claims of the Class they seek to represent.

 Plaintiffs and the members of the Class work, or have worked, in the State of New York for

 Defendant TCFI. The Plaintiffs, and the Class were properly classified as “manual workers”

 under Article 6 of the New York Labor Law. The Plaintiffs and the members of the Class all

 enjoy the same statutory rights under NYLL § 191(1)(a) and NYLL § 198 (1-b).

             26. Plaintiffs will fairly and adequately represent and protect the interests of the

 members of the Class. Plaintiffs understand that as class representatives, they assume a fiduciary

 responsibility to the Class to represent its interests fairly and adequately. Plaintiffs recognize that

 as class representatives, they must represent and consider the interests of the Class just as they

 would represent and consider their own interests. Plaintiffs understand that in decisions

 regarding the litigation and its possible settlement, they must not favor their own interests over

 the Class. Plaintiffs recognize that any resolution of a class action must be in the best interest of

 the Class. Plaintiffs understand that in order to provide adequate representation, they must be

 informed of developments in litigation, cooperate with class counsel, and testify at depositions

 and/or trial.

             27. Plaintiffs have retained counsel competent and experienced in complex class

 actions and employment litigation.

             28. There is no conflict between Plaintiffs and the members of the Class.

             29. A class action is superior to other available methods for the fair and efficient

 adjudication of this litigation. The members of the Class have been damaged and are entitled to




                                                   4
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 5 of 7 PageID #: 344




 recovery as a result of Defendant TCFI’s violations of NYLL § 191(1)(a) and NYLL § 198 (1-b).

 Although the relative damages suffered by the individual members of the Class are not de

 minimis, such damages are small compared to the expense and burden of individual prosecution

 of this litigation. The individual members of the Class lack the financial resources to vigorously

 prosecute individual lawsuits against Defendant TCFI to recover, inter alia, liquidated damages.

 In addition, class litigation is superior because it will obviate the need for unduly duplicative

 litigation that might result in inconsistent judgments about Defendant TCFI’s practices.

            30. The First Cause of Action is properly maintainable as a class action under Federal

 Rule of Civil Procedure 23(b)(3) as the questions of law and fact common to the members of the

 Class predominate over any other questions affecting only individual members, and as a class

 action is superior to other available methods for fairly and efficiently adjudicating the

 controversy.

            31. The First Cause of Action is properly maintainable as a class action under Federal

 Rules of Civil Procedure 23(b)(1)(A) and 23(b)(1)(B) in that prosecuting separate actions by

 individual members of the Class would create a risk of adjudications with respect to the

 individual members of the Class that may establish incompatible standards of conduct for the

 parties opposing the Class and/or that, as a practical matter, would be dispositive of the interests

 of the other members of the Class not parties to the individual adjudications or would

 substantially impair or impede their ability to protect their interests.

                                    FIRST CAUSE OF ACTION
                                       NYLL §§ 191 and 198

            32. Plaintiffs repeat and reallege the foregoing allegations as if set forth at length

 herein.

            33. Plaintiffs and the members of the Class were employed by Defendant TCFI.



                                                    5
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 6 of 7 PageID #: 345




            34. Plaintiffs and the members of the Class were “manual workers” under Article 6 of

 the New York Labor Law.

            35. Plaintiffs and the members of the Class were/are entitled to be paid on a weekly

 basis and not later than seven days after the workweek in which the wages were earned.

            36. Defendant TCFI failed to pay Plaintiffs and the members of the Class weekly as

 required by NYLL § 191.

            37. Defendant TCFI failed to pay wages earned by Plaintiffs and the members of the

 Class for the first workweek of each bi-weekly pay period within seven days after the end of the

 workweek in which such wages were earned as required by NYLL § 191.

            38. Plaintiffs and the members of the Class were injured and harmed by Defendant

 TCFI’s violation of NYLL § 191 as, inter alia, they were not timely paid their wages and were

 thus deprived of the timely receipt and ability to use their money. In such circumstances, Courts

 have determined that the exact amount of monetary damages is difficult to determine and thus

 Plaintiff and the members of the Class are entitled to liquidated damages in the amount of the

 late paid wages.

            39. Due to Defendant TCFI’s violations of the NYLL, Plaintiffs and the members of

 the Class are entitled to recover from Defendant TCFI liquidated damages, reasonable attorneys’

 fees, costs, and pre-judgment and post-judgment interest.

                                      PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, individually and on behalf of all other similarly situated

 persons, respectfully request that the Court grant the following relief:

            a) Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

 of Civil Procedure;




                                                   6
Case 2:21-cv-05017-PKC-SIL Document 31-1 Filed 01/12/23 Page 7 of 7 PageID #: 346




            b) Designation of Plaintiffs as representatives of the Class and counsel of record as

 class counsel;

            c) Liquidated damages permitted pursuant to the NYLL;

            d) Prejudgment interest;

            e) Post-Judgment interest;

            f) Reasonable attorneys’ fees and costs of the action; and

            g) Such other relief as this Court shall deem just and proper.



 Dated: Huntington, New York
        September 28, 2022

                                              MOSER LAW FIRM, P.C.


                                              By:
                                              Steven J. Moser, Esq.
                                              Attorneys for Plaintiffs
                                              5 East Main Street
                                              Huntington, NY 11743
                                              (516) 671-1150
                                              steven.moser@moserlawfirm.com




                                                 7
